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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


JANIS SHUMWAY, Individually,                                       Case No.: 1:21-cv-01049

               Plaintiff,
v.

MAHAVIR MATTESON
HOSPITALITY LLC, a
Domestic Limited Liability Corporation,

            Defendant.
___________________________


                            NOTICE OF SETTLEMENT OF CLAIM

       Plaintiff, Janis Shumway, by and through undersigned counsel, respectfully submits this
Notice of Settlement, and informs the Court as follows:

1.    Plaintiff has reached an agreement with Defendant to resolve the claims against
Defendant.

2.     The parties are have finalized a confidential settlement agreement and
a Notice of Dismissal was filed.

FOR THE PLAINTIFF:
/s/ Amale Knox
Amale Knox, Of Counsel
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Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

I hereby certify that July 12, 2021, I filed the foregoing using the Clerk of Court’s CM/ECF
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efiling system, which will serve all counsel of record electronically.

                                          /s/ Amale Knox
                                          Attorney
